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  EXHIBIT 85
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1
2        UNITED STATES DISTRICT COURT
         FOR THE SOUTHERN DISTRICT OF NEW YORK
3        Civil Action No.: 1:21-cv-05316-DG-TAM
         -----------------------------------------x
4        MARVEL CHARACTERS, INC.,
5                                Plaintiff,
6                         - against -
7        NANCI SOLO and ERIK COLAN,
8                                Defendant.
         -----------------------------------------x
9        NANCI SOLO and ERIK COLAN,
10                               Counterclaimant,
11                         - against -
12       MARVEL CHARACTERS, INC. and DOES 1-10
         inclusive,
13
14                               Counterclaim-Defendants.
         -----------------------------------------x
15                                October 28, 2022
                                  8:11 a.m.
16
17                  VIDEOTAPED DEPOSITION of NANCI SOLO,
18      pursuant to Federal Rule of Civil Procedure
19      30, held at the offices of O'Melveny &
20      Myers LLP, located at 7 Times Square, New
21      York, New York 10036, before Anthony
22      Giarro, a Registered Professional Reporter,
23      a Certified Realtime Reporter and a Notary
24      Public of the State of New York.
25

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1
2        A P P E A R A N C E S :
3
         O’MELVENY & MYERS LLP
4         Attorneys for Marvel Characters, Inc.
          1999 Avenue of the Stars, 8th Floor
5         Los Angeles, California 90067
          Telephone: (310) 553-6700
6
         BY:        MOLLY M. LENS, ESQ.
7                   mlens@omm.com
                    DANIELLE FEUER, ESQ.
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                    SALVATORE J. COCCHIARO, ESQ.
9                   scocchiaro@omm.com
                    (via Zoom)
10                  MATTHEW KAISER, ESQ.
                    mkaiser@omm.com
11                  (via Zoom)
12
13
14
15       TOBEROFF & ASSOCIATES, P.C.
          Attorneys for Keith Dettwiler
16        23823 Malibu Road, Suite 50-363,
          Malibu, California 90265
17
         BY:        MARC TOBEROFF, ESQ.
18                  JAYMIE PARKKINEN, ESQ.
                    (via Zoom)
19
20
21       ALSO PRESENT:
22                             MARCELO RIVERA, Videographer
                               ELI BARD, Marvel
23                             (via Zoom)
24
25

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1
2                                  S T I P U L A T I O N S
3
4                   IT IS HEREBY STIPULATED AND AGREED,
5       by and among counsel for the respective
6       parties hereto, that the filing, sealing
7       and certification of the within deposition
8       shall be and the same are hereby waived;
9                   IT IS FURTHER STIPULATED AND AGREED
10      that all objections, except as to form of
11      the question, shall be reserved to the time
12      of the trial;
13                  IT IS FURTHER STIPULATED AND AGREED
14      that the within deposition may be signed
15      before any Notary Public with the same
16      force and effect as if signed and sworn to
17      before the Court.
18                    *        *           *
19
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21
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25

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1                                       NANCI SOLO
2       prior experience in representing other
3       comic book artists, are you aware that
4       there are currently four other cases that
5       are currently being litigated?                         So, for
6       example, this deposition is deemed being
7       provided not only in your litigation, but
8       also in four other lawsuits?
9                          MR. TOBEROFF:                Compound.
10              A          I don't know.
11              Q          Have you ever spoken with
12      Larry Lieber?
13              A          No.
14              Q          Do you know who he is?
15              A          I don't know, no.
16              Q          Have you ever spoken to
17      Steve Ditko?
18              A          No.
19              Q          Do you know who he is?
20              A          I've heard that name.
21              Q          Other than hearing the name,
22      do you know who he is?
23              A          No.
24              Q          Have you ever spoken to
25      anyone in the Ditko family, like Patrick

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1                                       NANCI SOLO
2       or Mark Ditko?
3               A          Not that I'm aware of, no.
4               Q          And how about Don Rico?                        Do
5       you know who he is?
6               A          No.
7               Q          Have you ever spoken to
8       Michelle Hart-Rico or Buz Rico?
9               A          No.
10              Q          How about Don Heck?                     Do you
11      know who he is?
12              A          I've heard that name.                      I
13      don't know who he is.
14              Q          Have you spoken or
15      communicated with Keith Dettwiler?
16              A          No.
17              Q          Do you know who that is?
18              A          No.
19              Q          And I asked you if you'd
20      ever spoken with any of those
21      individuals, and you said no.
22                         Is the same true, that
23      you've never corresponded with them
24      either?
25              A          Yes.       The same is true.                   I

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        Exhibit 44                         Audio recording                  23
20
        Exhibit 45                         Transcript of                    23
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                                           letter
23
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1
2                              C E R T I F I C A T I O N
3
4
5                   I, ANTHONY GIARRO, a Shorthand
6       Reporter and a Notary Public, do hereby
7       certify that the foregoing witness, NANCI
8       SOLO, was duly sworn on the date indicated,
9       and that the foregoing, to the best of my
10      ability, is a true and accurate
11      transcription of my stenographic notes.
12                  I further certify that I am not
13      employed by nor related to any party to
14      this action.
15
16
17                                          <%5259,Signature%>
                                          ____________________
18                                             ANTHONY GIARRO
19
20
21
22
23
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25

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